8:12-cr-00017-RFR-SMB    Doc # 66   Filed: 06/25/12    Page 1 of 2 - Page ID # 182



               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:12CR17
                              )
          v.                  )
                              )
RELXFORD HAYES,               )                       ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court on the motion for

continuance of trial (Filing No. 65).          The Court notes plaintiff

has no objection, and the motion will be granted.               Accordingly,

          IT IS ORDERED defendant’s motion is granted; trial of

this matter is rescheduled for:

                Tuesday, November 6, 2012, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The parties will have time to pursue plea negotiations or

prepare for trial.      The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

July 31, 2012, and November 6, 2012, shall be deemed excludable
8:12-cr-00017-RFR-SMB   Doc # 66   Filed: 06/25/12   Page 2 of 2 - Page ID # 183



time in any computation of time under the requirement of the

Speedy Trial Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 25th day of June, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
